     Case 1:07-cr-00054-WSD-CCH Document 6 Filed 02/22/07 Page 1 of 1


                                                              FILED 11~ OPE N COURT
                    IN THE UNITED STATES DISTRICT COURT           ~• • D• C•   -Atlanta

                    FOR THE NORTHERN DISTRICT OF GEORGIA Fig 2                 2 2007
                            CRIMINAL       DIVISION          8y           • yA7TEN, Clerk

                                                                  1             aeputy Clerk
UNITED STATES OF AMERICA
                                             CRIMINAL ACTION
               V.
                                             NO .   1 :07-CR-054
JOHN HENRY SMITH


     The below-named law school intern has my approval to appear on

behalf of the United States of America in this proceeding .

     This 22nd day of February                        2007




                                  \J ~~ i\d L`          1             Z
                                  DAVID E . NAHMIAS
                                  UNITED STATES ATTORNEY




INTERN : Gar Feldon

LAW SCHOOL :    Emor School of Law

SUPERVISING ASSISTANT                                                 ~~ 6
UNITED STATES ATTORNEY :    B    '       a   Pak •~I
                                                   y                   ~,
                                     f


     The above-named law school intern is hereby permitted to

appear before me in this proceeding .

     This 22nd day of           February                     2007



                                 ~~C L
                             UNITED STATES DISTRICT JUDG E-1-MAGISTRATE
